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                                   SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                                                         INMATE GRIEVANCE FORM
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                                                                              STEP 1

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r.                                        SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                                                   INMATE GRIEVANCE FORM
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                                                            STEP2                Office Use Only


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      INMATE NAME:                 K e-hn-L-\::h R.\v:erc1                                                          G:~~~~e~~~:i 'a ~ .      L ..,~   . -   r:" , ' /
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      INSTITUTION:                fv'.1c.£<•Y n, ,· ck... 7                              JUL 1 1 2017                         Class. _ _ _ _ __
      HOUSING UNIT: . .1.-f_,_3_A-.;___;:_:/b~2=-----------I~~                                                    CJ)ate Received        7- (, -I 7
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     WORKASSIGNMENT:_..:....,K.....
                               i-'-}e-__,)_,e.;;._J_:_1_ _ _ _ _ __

     INMATE'S REASON FOR APPEAL (state specific dissatisfaction):

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                                                                                                      Grievant Signature                               Date

     RESPONSIBLE OFFICIAL:S DECISION AND REASON:

     I have reviewed your grievance. In your grievance your state that per the SC Code of Law 24-27-100, only 10% of each restitution
     an inmate owes SCDC should only be deducted from the money he/she receives. You state per SCDC Policy ADM-15.01,
     Repayment of Costs, 7.1 and 7.3, the amount of $6.43 is to be left on an inmate's EH Cooper Account. You allege that is in
     violation of SC Code of Law 24-27-100, when it indicates that only 10% is to be deducted. The indigent level of $6.43 was
     established in order for inmates to purchase basic necessities from the canteen for themselves to maintain their hygiene when they
     owe restitution in order to comply with Agency Policy OP-22.13, "Inmate Grooming Standards." The indigent level of $6.43 has
     been determined to be sufficient for this purpose and will not be changed at this time. The Warden responded to your concerns
     appropriately on your SCDC 10-5, Step 1 Inmate Grievance Form.

     Therefore, your grievance is denied.

     You may appeal this decision under the Administrative Procedures Act to the Ad mini
     fill out the attached Notice of Appeal Form and submit it as instructed on the f




     The decision rendered by the responsible official exhausts the appeal process of the Inmate Grievance Pro-
     cedure. I hereby acknowledge receipt of the official's response and understand this is the Agency's final
     response to this matter.

                                                                                                                                   C/- li-17
     Grievant Signature                                              Date                         IGC Signature                       Date

                                                                 (SEE REVERSE SIDE FOR INSIBUCTIONS)

     SCDC I0-5A (November 1997)
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                                                        SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
•                                                               REQUEST TO STAFF MEMBER

     TO: NAME:                                                    TITLE:                             DATE:
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     rnMATE'S NAME:                                                                                  SCDC#:
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    DIS.POsmoN BY STAFF MEMBER:




    DATE:                                                 I .SIGNATIJRE:

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                         8:18-cv-02539-JMC                  Date Filed 09/14/18                   Entry Number 1-1   Page 11 of 33




                                           SOU"m CAROLINA DEPARTMENT OP CORRECl!ONS
•                                                  REQUEST TO STAFF MEMBE1l

    10: NAME:                                                 Tin..E:                                  DATB:
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              4S/LtNG- ~of?- A PK..,,'5T"olST i'-1...DKt Ttt-A--"1 P..Z.E"-JtouS 1--lONTt+- t+I\S
               Tb G-6 To COLU.''·•U31A. YDv ,I\Si::..-E°O fo-K- c.oPV 6F Ho,_._; ,"-1..uC.t+ YbLJ cu.!€
               lt<.P5T1 Tsr, orJ)   1\Jc_     s,          c
                                           .;,...oD to. T~tc oN L'/ n+ 11'->G'- , v\-N .:._.;. . , v E Y6LJ ,. s
                                                                                                          1 5
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             1../6 DAYS 10 f<.6f'c·d0D, rHE RESr?ei/\/5€ WiLL dC 5CNT d,tC.K.- TO
              y 0 J, L,Gou L D             rJ c:-r eoMC            t> /tC..K 70           t'1.C




                                                   3IGNATURE!
              8:18-cv-02539-JMC            Date Filed 09/14/18              Entry Number 1-1   Page 12 of 33



                                                    Inmate Request

                   RIVERA, KENNETH DARRELL
                   SCB0030306
                   SCP0030306
                   15-919884
                   12/03/15 09:30
                   Classification
                   Kiosk
                   PEACE I AM WRITING YOU REQUESTING TO SEE DO I HAVE MY CANTEEN,TELEPHONE, AND VISITATION
                   PRIVILEGES. I LOOK FORWARD TO A RESPONSE FROM YOU THANKS.
                   Complete
  1cer:
isposition Date:   02/11/16 14:40

Request Responses
Date                Author          Note
02/11 /16 14:40     c019916         <P>The only privilege not reinstated is television.</P>




Inmate Request                                                                                                 Page 1 of 1
                8:18-cv-02539-JMC            Date Filed 09/14/18   Entry Number 1-1        Page 13 of 33




                                                  Inmate Request
   day's Date: 6/20/16 11 :25

  ime:
 ooking#:
                    RIVERA, KENNETH DARRELL
                    SCB0030306
                                                                                                            f)
 ermanent#:         SCP0030306
 teference #:       16-150142
)ate Requested:     05/25/16 10: 13
Request Type:       EHSO
Requested By:       Kiosk
Request Details:    PEACE IN RESPONSE TO YOUR CORRESPONDENCE WHY ARE WE ALLOWED A 50.00 PACKAGE
                    SPENDING LIMIT ... I AM A Ml-3 AND HAVE ALL MY PRIVILEGES SO WHY AM I SUBJECT TO ONLY 50.00
                    WHEN LAST PACKAGE I ORDERED THE MAX ... I LOOK FORWARD TO THIS CORRESPONDENCE THANK ...
Oisposition:        Complete
bfficer:
bisposition Date:   06/03/16 14:22

 Request Responses
 Date                Author           Note
 06/03/16 14:32      c010027          PLEASE ADDRESS YOUR ISSUES WITH THE APPROPRIATE PERSONNEL<BR><BR>ASSOC. WARDEN
                                      MURSIER, l'M SURE WOULD BE GLAD TO&nbsp;ANSWER ANY<BR>ADDITIONAL
                                      QUESTONS<BR><BR>LT. MELBA BUTLER




Inmate Request                                                                                            Page 1 of




                                                                                        ~ ,,.,,. ' --
              8:18-cv-02539-JMC              Date Filed 09/14/18                Entry Number 1-1                 Page 14 of 33




                                                     Inmate Request
oday's Date: 6/20/16 11 :23

                   RIVERA, KENNETH DARRELL
                   SCB0030306
                   SCP0030306
eference #:        16-172036
ate Requested:     06/11 /16 09:56
equest Type:       Inmate Financial
equested By:       Kiosk
equest Details:    peace i am writing regarding my account status. i owe the state money but why must all m money be taken with the
                   exception of 6.43.
                   Complete

isposition Date:   06/13/16 07:39

Request Responses
Date                Author            Note
06/13/16 07:40      c044397           you owe 10685.42 restitution.&nbsp; any funds received will be used to pay your restitution, down to 6.43




Inmate Request                                                                                                                         Page 1 of 1
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             SOUTH CAROLINA DEPARTMENT OF CORRECTIONS


                      RESPONSE TO INMATE CORRESPONDENCE
                                                                                  f
TO:                  Kenneth Rivera

SCDC #:               318979

INSTITUTION:         McCormick Correctional Institution

FROM:                Katherine Klein

DATE:                June 13, 2016

RE:                  Correspondence


This is in response to your correspondence regarding the Inmate Package Program. The
new eligibility guidelines for inmates living in "Step Down Units" were established by
the SCDC Executive Staff and is not a restriction from Access Securepak.




cc:     Leroy Cartledge, Warden
        Inmate Records
        File
                  8:18-cv-02539-JMC             Date Filed 09/14/18               Entry Number 1-1                 Page 16 of 33


      1
~
' ,       OMS
                                                      Inmate Request
 oday's Date: 8/8/16 14:49

                     RIVERA, KENNETH DARRELL
                     SCB0030306
                     SCP0030306
 eference #:         16-226823
 ate Requested:      07/24/16 18:23
 equest Type:        EHSO
 equested By:        Kiosk
 equest Details:     peace i am writing regarding the access securepak. why is f5 still on the 50 dollar spending limit.
                     Complete

 isposition Date:    08/01 /16 09:42

 Request Responses
 Date                 Author           Note
 08/01/16 09:48       c010027          your spending limit is the same as if you were on the yard, that has been changed. It was approved as of June
                                       14, 2016. per Mr. McCall&nbsp;
                                                               .




Inmate Request                                                                                                                         Page 1 f
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                           SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                                             INMATE GRIEVANCE FORM
                                                               STEP 1

INMATE NAME: Ke.nn.('_tl, Rlvqc,                 -·· . Gri~vanc-~ No.
                                                       Code: General X / I ..;r- :5
                                                                                                           mcc.ro?nB-~ -·
                          ~-=--~J!...-9~----------
SCDC NUMBER: ..w!Q'.....!...)!£..                              Policy_ _ _ _ _ __
                                                                                                    Disc. Hear. _ _ _ __
INSTITUTION: .....!M=~=.L.Y.L.11.IUu..;l"c}(_=~--------~~·=
HousING UNIT:          r5-- A,, 2-,                            ·~Al 10 o8~~                         ;~~ -~---,-----
                                                                                           Date Received ~f-   I?,
WORK ASSIGNMENT:             Ki-h:.J,~        k/()y}(~y-                                   IGC Initials--d-~~U._,..t/'------

STATE GRIEVANCE (include documentation, and date of incident; if SCDC Policy, indicate which policy)

L, K~nY1e..-fi fl..iWn;, ~3)3Cf79 J5 f-he :!Jr,~&hf- D~ «H,,) .9r/Ol<nce. t),, -/t,e_

dt,f<- oP Au9u5.f- 21        l,I)/~   ~ c/4-d svbn,/,f c/J,,-J                C.JY>?f )~;"'./-.   P~   /1/r, Mc.t.uJI on
dune.. }l#,   L-O}i,    r~    unit         kJ4J   c,//owttl -fo order ~ Jf 'VJo J;,u/+- f'ro11A ~-':>
5£cuy~fu~. HlW'l"V~v✓              /\,(~    f&mi)y' i) nDr ~Jlowd ft, 9D                          (Ne_y   J1 So,00.)   r: ~>l-4
Yh)t    on trhi fe.ytyi<...Hn,J c..""J              '1::-   ~n,,i   e,,    MI.,,3. 50 wi y          4-JU ,;:   /in,/f-e-d
to Drd« JJ s-o .DO fvo Al                  .4CCe).)         See v,e.r~)l.?




ACTION REQUESTED:


       T7J l/Pr cJ1..,t,     ))0,0q J/n,j}             t))',    ll?I      51'~1,d,h,? (w.M_ ,4ct:-es>           ~UY"_<..~/c.,
SPECIFY HOW AND WHEN INFORMAL RESOLUTION WAS ATTEMPTED BY GRIEVANT:




                                                                                       Grievant Signature              Date
                                                  (CONTINUE ON REVERSE SIDE)
             8:18-cv-02539-JMC             Date Filed 09/14/18         Entry Number 1-1      Page 18 of 33


------~~J,
SCDC 10-5 (Rev. May 2013)                                                                                                      /




WARDEN'S DECISION AND REASON:


         Yo_u~ grievance has been reviewed. The $50 limit for inmates in the Step Down Program at MCCI was
         originally removed however, Mr. McCall, Deputy Director of Operations, has since disapproved the
         removal of the $50 limit. The $50 limit for ordering packages from Access Secure Pak will remain the
         same for all institutions with the Step Down Program. Your grievance is denied.




                                                                               Warden Signature                       Date

•     I accept the Warden's decision and consider the matter closed.

~     I do not accept the Warden's decision and wish to appeal.



                                                                                                         CJ-   l~-;{e
Grievant Signature                             Date                        IGC Signature                          Date




INSTRUCTIONS FOR COMPLETING STEP 1 GRIEVANCE FORM

1.   An informal resolution shall be attempted prior to the filing of Step 1 by sending an Inmate Request to Staff Member
     (RTSM) form to the appropriate supervisor. A copy of the answered RTSM must be attached to the grievance when
     the grievance is filed.
2.   Complete each section in its entirety writing only in the space provided for inmate use. No additional pages will be
     permitted.
3.   Only one (1) issue is to be addressed on each form.
4.   Submit the completed form by placing in the Grievance Box within five (5) days of the date on the RTSM response;
     policy grievances can be filed at any time. Disciplinary and Classification Review appeals must be submitted within
     five (5) days of the hearing/review. Do not write in the space provided for the Warden's response.

5.   If you are not satisfied with the Warden's decision, you may appeal to the appropriate responsible official within five
     (5) days of your receipt of the Warden's decision, via placement in the Grievance Box.
                  8:18-cv-02539-JMC                             Date Filed 09/14/18       Entry Number 1-1      Page 19 of 33
                                                                                                                     ()u G 1-17- ly
                                   SOUTH CAROLINA DEPARTMENT OF CORRECTIONS                                           ~ r =' · A11)-'jµJLJ
                                            INMATE GRIEVANCE FORM    ~:__                                                .,.    _t   ""   .. r,.   ,, ,
                                                                              STEP 2                        ~ Office lJSJ:? Only
                                                                                                          Grievance No.l'l/l~LJ-0.? J f, J4:,
INMATE NAME: f6.ey,y1                   .e-tb ·~ 1 ✓<_:rc,_                                               Code: General .£: f' I .r 5
SCDC NUMBER:                 ~0::....!.)~'ff--Lq-<-zi...J-9_ _ _ _              -Rlf-ECE                          Policy
                                                                                                                  Disc. Hear. _ _ _ _ __
INSTITUTION:             Mcl!..o ·ovt,' c,,K....;                                                                 Class. - ~ - - - - -
HOUSING UNIT:                 r~ - A,-) 2.l                                                               Date Received    q_  I£"/6
                                                                                                          IGC Initials cit /lfl
WORK ASSIGNMENT:----C..)L_,_'                 + - c ,_
                                                     \,,,
                                                        ·_--t':1,-=.L.1-------=--......
                                                          __·




INMATE'S REASON FOR APPEAL (state specific dissatisfaction):

 -rH1) '~ uv~( ~nd t.}Y)U)'-7\ \?Vh,i~J-?JV1~. W<- UV---c-___ ~ l - 2
 d,, )U; (Vl/ n .._ t-d ""ff<)., ~ ,.,._J, '+-h '1--1-,.---;, 51 SCi.OC:, 'z>i?<h d• ~
  \i ~ +•C;t,l           l'tlL   YI c   ,+-   D ~l:::} e, "1 ':}           I('.e,~   \-Jr\ ~' o V1 ~ ~   . ,




                                                                                               Grievant Signature                         Date

RESPONSIBLE OFFICIAL'S DECISION AND REASON:
I have reviewed your grievance. You state that on June 14, 2016, per Mr. McCall the F5 Unit was allowed to order the $200 limit from
Access SecurePak. However, you state that your family was not allowed to order over $50. You further state that your custody level MB
and you do not have any restrictions. Mr. McCall, Deputy Director of Operations reviewed the request made on June 14, 2016, from the
Division of Classification & Inmate Records to lift the $50 spending limit for packages for the Intensive Management Step-Down Program
located at McCormick Correctional Institution. The request was initially approved by Mr. McCall on June 14, 2016; however, that decision
was later rescinded on July 5, 2016, as it was determined more information would be needed by the Division of Operations. The allegations
you have raised that you are being discriminated against cannot be substantiated. This matter is still under consideration.

Therefore, I consider this matter closed.

You may appeal this decision under the Administrative Procedures Act to the Administrative Law Court. In order to appeal, you must fill
out the attached Notice of Appeal Form and submit it as instructed on the form within 30 days ofrecei .




The decision rendered by the responsible official exhausts the appeal pr cess of the Inmate Grievance Pro-
cedure. I hereby acknowledge receipt of the official's response and understand this is the Agency's final
response to this matter.

 1Lu,d/ f'½..
Grievant Signature                                                  Date                    JGC Signature                  Date

                                                                   (SEE REVERSE SIDE FOR INSTRUCTIONS)
SCDC 10-SA (November 1997)
                 8:18-cv-02539-JMC            Date Filed 09/14/18              Entry Number 1-1              Page 20 of 33


                                                     Inmate Request

                   RIVERA, KENNETH DARRELL
                   SCB0030306
                   SCP0030306
eference #:        17-562727
ate Requested:     05/17/17 11 :54
equest Type:       Inmate Financial
                   Kiosk
                   peace i am writing you requested for this year transactions regarding my canteen spending and when my account
                   was debited. i also request the exact estimate i owe the state for court cost, medical cost etc. i look forward to a
                   response from you thanks.
                   Complete

                   05/17/17 12:51

Request Responses
Date                Author            Note
05/17/17 12:57      c044397           you owe approximately 7,350.00 US District Court, 3,940.00 Appellate Court and 1,838.49 other, to include
                                      postage, legal supplies, copies, medical co pay, rx co pay and major damaged property.&nbsp; I cannot see
                                      records&nbsp;before&nbsp;2011.




Inmate Request                                                                                                                      Page 1 of 1
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              SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                         E.H. COOPER
                                                                            ~
                      ACCOUNT STATEMENT    DATE: 04/01/17 TO 04/30/17
                    ACCOUNT NO.   00318979
                    RIVERA,KENNETH DARRELL

              CURR BAL AS OF 05/22/17:            3.73


TRANS. DATE       TRANS. TYPE        DEPOSIT      WITHDRAWAL          BALANCE
04/28/17          CANTEEN PURC        0.00           6.42               3.58
04/25/17          POSTAGE REST        0.00           0.39              10.00
04/25/17          SMALL DAMAGE        0.00           0.01              10.39
04/24/17          MONEY ORDER         6.42           0.00              10.40
04/18/17          CANTEEN PURC        0.00           6.02               3.98
04/18/17          SMALL DAMAGE        0.00           0.09              10.00
04/17/17          MONEY ORDER         6.42           0.00              10.09
04/12/17          CANTEEN PURC        0.00           6.33               3.67
04/11/17          POSTAGE REST        0.00           0.06              10.00
04/10/17          MONEY ORDER         6.43            0.00             10.06
04/06/17          CANTEEN PURC        0.00           6.37               3.63
04/04/17          POSTAGE REST        0.00           0.16              10.00
04/03/17          MONEY ORDER         6.42            0.00             10.16
      8:18-cv-02539-JMC   Date Filed 09/14/18   Entry Number 1-1   Page 22 of 33



              SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                         E.H. COOPER                                           L
                      ACCOUNT STATEMENT    DATE: 05/01/17 TO 05/31/17
                    ACCOUNT NO.   00318979
                    RIVERA,KENNETH DARRELL

              CURR BAL AS OF 06/01/17:             3.61


TRANS. DATE       TRANS. TYPE        DEPOSIT       WITHDRAWAL          BALANCE
05/31/17          RX COPAY            0.00            0.15              10.00
05/30/17          MONEY ORDER         6.42            0.00              10.15
05/16/17          CANTEEN PURC        0.00            6.27               3.73
05/11/17          COPIES              0.00            0.26              10.00
05/09/17          MONEY ORDER         6.42             0.00             10.26
05/03/17          CANTEEN PURC        0.00            6.16               3.84
05/01/17          MONEY ORDER         6.42            0.00              10.00
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              SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                         E.H. COOPER
                      ACCOUNT STATEMENT     DATE: 05/01/17 TO 05/31/17
                                                                             M
                    ACCOUNT NO.   00318979
                    JUVERA,KENNETH DARRELb~

              CURR BAL AS OF 06/01/17:             3.61


TRANS. DATE       TRANS. TYPE        DEPOSIT       WITHDRAWAL          BALANCE
05/31/17          RX COPAY            0.00            0.15              10.00
05/30/17          MONEY ORDER         6.42            0.00              10.15
05/16/17          CANTEEN PURC        0.00            6.27               3.73
05/11/17          COPIES              0.00             0.26             10.00
05/09/17          MONEY ORDER         6.42             0.00             10.26
05/03/17          CANTEEN PURC        0.00             6.16              3.84
05/01/17          MONEY ORDER         6.42             0.00             10.00
                  8:18-cv-02539-JMC                 Date Filed 09/14/18             Entry Number 1-1                     Page 24 of 33

J                                    SOUTH CAROLINA DEPARTMENT OF CORRECTIO~S
                                                          INMATE GRIEVANCE FORi'\1
                                                                           STEP 1
                                                                                                                                            N
    INMATE NAME: j,j-e.nne:tl, IZi\,'er:c,
                                --
                                                                                  OFF[YYJUSE O:\L\:,
                                                                         Grievance No      CICtllt"-
                                                                                                                                                       {·1
    SCDC NUMBER: ___.JLlu1L9L7L..J.C,_ _ _ _ _ _ _ _ _ _ _ _ Code: General -m,2/---/:

    INSTITUTION: ft1clor·-,71,·cJL c.:-r...
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                                                                                ~:::~~ear.     an~·
                                                                                         7Tft/)i-Y1-1$7 cl

    HOUSING UNIT:
                    -        .A- }'12---
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                                                               p...i
                                                                                PREA
                                                                                        ------

    WORK ASSIGNMENT: J(,'-k.J-,eh                ")\)N                   Date Received ~t-17
                                                                         IGC Initials
    STATEMENT OF GRIEVANCE (Indicate the date of incident, and if the grievance is a challenge                                to   SCDC Policy, specify
    which policy. Include supporting documentation and attach answered RTSM or Kiosk reference number.)

      I.      kenoe.+J. . R ;\,'-e«::., #-313q79 ;::, +17-e_ Sn"f':_\),.:;.,+ cF                                      cfj.,j·_;; 3r,·eu<'7Ce -




     !<..TSJit Vi        (,1   K,·o:sk... -Iv   (-lt,Q_ Sc.De hr>C.n,i~I De /7£.rf-?""'"'.h-f                             r~~'Jc.,./✓:1-:..9     }/Le,:/.,(

     IJ1Dn-t''/ k- f"-11.C·~--;LrJ ; 5 ):;,~-4n:J                cledL.,_/.--.,.:,("/   eA /., >---e.lY u .. ',   If..    ,-J/,~     r:-"Yc-ef"/.,,o--,
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     DF B &,<-/3~ Pe-r T,-flr:.                 Z   l/ DP Scr,:/:), ·CL.yo)/n.:::.                  c-EJc/4   CF         L:.'L-u ,Hc_-ho,-1
       Z-'-/-1]-IOo ,           10°/o Ori'/ S> Ei-- JJ he -f4k~,1,.,
                                                      7    1
                                                                                        1?1or~)y' c,11J cJl,IJ /,-,J1,;/r.)

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      A/I wJ/ 1110,..,~.Y 5J l)tJkl r.tJ;.- b..e- -1~.t-c!h o;-,Jy
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      0h 1J1-/ &(COUhf-i) .rEf                      CtJt:,rCe/-,f-r-79-e_.




                                                                                                    ·J;&~~e-!~:c .) &- Z-/ 7
                                                                                                     Grievant Signature                            Date




                                            ,                                                                     /


    ACTION TAKEN BY IGC: ~ PROCESSED                                   0    UNPROCESSED                   ~ OTHER


                                                                           Set!·                 1        r: -     -
                                                                                               r--.. C:-L--c:I 5 t_·
                                                                                                                             .s·, ,~A (-.
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                                                                                                         IGC Signature                            Date
                                                               (CONTINUE ON RE\ ERSE SIDE)
    SCDC 10-5 (Rev. October 2013)
             8:18-cv-02539-JMC            Date Filed 09/14/18          Entry Number 1-1   Page 25 of 33


 WARDE:\'S DECISION AND REASON:




        I have reviewed your grievance. The Statute that you cited and referenced has nothing to do with
        restitution You may re-submit with the appropriate information. Your grievance is being returned to
        you.

                                                                           6 ~ /2 -17




                                                                           ----
                                                                             Warden Signature                   Date

      I accept the Warden's decision and consider the matter closed.

      I do not accept the Warden's decision and wish to appeal.



     -----
Grievant Signature                            Date                        IGC Signature                       Date




I:'\STRCCTIO"l;S FOR COMPLETING STEP 1 GRIEVANCE FORM

1.   An informal resolution shall be attempted prior to the filing of Step 1 bv sending an Inmate Request to Staff
     '.\lemher (RTS'.\1) form or Kiosk reference number to the appropriate supervisor. A copy of the answered
     RTSM must be attached to the grievance when the grievance is filed.
2.   Complete each section in its entirety writing only in the space provided for inmate use. No additional pages
     will be permitted.
3.   Only one (1) issue is to be addressed on each form.
4.   Submit the completed form by placing it in the Grievance Box at your institution within eight (8) working
     days of the date on the RTS:\1 response; policy grievances can be filed at any time. Disciplinary and
     Classification Review appeals must be submitted within five (5) working days of the hearing/review. Do not
     ,Hite in the space pro, ided for the \\"arden's response.

5.   If you arc not satisfied "ith the Warden's dcdsion. vou may appeal to the appropriate responsible official
     within five (5) days of your receipt of the Warden's decision, l)~ placing your Step 2 appeal form in the
     Grievance Box at your institution.
      8:18-cv-02539-JMC   Date Filed 09/14/18   Entry Number 1-1   Page 26 of 33


              SOUTH CAROLINA DEPARTMENT OF CORRECTIONS                     0
                         E.H. COOPER
                      ACCOUNT STATEMENT    DATE: 10/01/17 TO 10/31/17
                    ACCOUNT NO.   00318979
                    RIVERA,KENNETH DARRELL

              CURR BAL AS OF 11/01/17:            3.57


TRANS. DATE       TRANS. TYPE        DEPOSIT      WITHDRAWAL          BALANCE
         8:18-cv-02539-JMC                Date Filed 09/14/18        Entry Number 1-1      -     Page 27 of 33
(
                           SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                                      Division of Inmate Services                                                            \
                             AGREEMENT TO DEBIT E.H. COOPER ACCOUNT

     Inmate's Name:                                   SCDC#:                  Housing Unit:              Date:

      ~~nne..--\-h f<, Ve;r~                           'b\~q79                Rl-k.> (373                 J-    29-13

                                         GENERAL MATERIAL
    ** Inmate must have the funds in his/her account to pay for the materials.
                                                                                               To be completed by
                                                                                               SCDC staff:

                      Item                         Amount                                                Cost

     Envelope
     Pen

     Paper

     Postage

     Tape

     Box

     Electronic Repair
     Other

                                                                                 Sub-Total:

                                                    LEGAL MATERIAL
    ** Inmate is not required to have the funds in his/her account to pay for the materials; however, his/her account must
    be debited for all materials s/he elects to receive.
                                                                                               To be completed by
                                                                                               SCDCstaff:
                      Item                         Amount                                                Cost
     Envelope                                     JO                                                    1.00
     Pen
                                                                                                           .:5Z.

                                                                                                          .-, l-
     Other

           I
                                                       PHOTOCOPIES
    ** Inmate may be required to have funds in his/her account. See SCDC Procedure GA-01 .03(OP), "Inmate Access to the
    Courts," to determine if inmate may receive copies with/without funds.

                                                                                               To be completed by
                                                                                               SCDCstaff:
                                                                                                                                 \
                      Item                         Amount                                                Cost
    / Photocopies



                                                                                                       TOTAL
    Inmate's Signature


    Mailroom/Canteen                                                                Date


    White - Inmate
    Canary- Mailroom/Canteen Employee

    SCDC Form 10-14 (November 1998)
               8:18-cv-02539-JMC               Date Filed 09/14/18        Entry Number 1-1            Page 28 of 33
                              SOUTH CAROLINA DEPARTMtN 1 vF CORRECTIONS
                                         Division of Inmate Services

                               AGREEMENT TO DEBIT E.H. COOPER ACCOUNT                                             Q              \   l




         lnmate's Name:                                   SCDC#:                 Housing Unit:               Date:

          KeYJ-f'le--\--h I( .\ V ,,.,x Q.                  3r~cr·1q              R~u - B 7i                 l-3tJ- l 8
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                .... ,c must have the funds in his/her account to pay for the materials.
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    White - Inmate
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        SCDCForm 10-14(November 1998)
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                         SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                                    Division of Inmate Services

                         AGREEMENT TO DEBIT E.H. COOPER ACCOUNT
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White-Inmate
Canary - Mailroom/Canteen Employee

    SCDC Form 10-14 (November 1998)
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                                       SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                                                  Division of Inmate Services

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        White - Inmate
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        SCDC Form 10-14 (November 1998)
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                      SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                                 Division of Inmate Services

                         AGREEMENT TO DEBIT E.H. COOPER ACCOUNT                                            J
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White - Inmate
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